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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                      )
                                               )
               Plaintiff,                      )       ORDER
                                               )
       vs.                                     )
                                               )
Curtis Cameron Wells,                          )       Case No. 1-17-cr-133
                                               )
               Defendant.                      )


       On March 14, 2018, the court held an initial appearance on the government’s petition for

revocation of the Defendant’s pretrial release. Prior to that hearing, chambers—both by telephone

and email—attempted to contact Defendant’s counsel to schedule that hearing. Chambers was

unable to reach counsel, and counsel did not appear at the initial appearance. Since that time,

chambers has again reached out to counsel multiple times by telephone and email. As of this time,

chambers has not received a response from counsel.

       Counsel is ORDERED to contact chambers no later than 12:00 p.m. (noon) on March 19,

2018, to discuss scheduling an initial appearance. Failure to do so will likely result in counsel being

replaced as attorney of record in this case.

       IT IS SO ORDERED.

       Dated this 16th day of March, 2018.

                                               /s/ Charles S. Miller, Jr.
                                               Charles S. Miller, Jr., Magistrate Judge
                                               United States District Court
